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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                  Crim. No. 17-201 (ABJ)
 PAUL J. MANAFORT, JR., et al.,

                   Defendants.

                                 NOTICE OF WITHDRAWAL


       Pursuant to Local Rule of Criminal Procedure 44.5(e), please notice the withdrawal of

Jeannie Rhee as counsel for the Government in the above-captioned matter.




                                                   Respectfully submitted,

                                                   ROBERT S. MUELLER, III
                                                   Special Counsel

Dated: March 25, 2019                              /s/ Jeannie Rhee
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